                 Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 1 of 13



                                                     UNITED STATES DISTRICT COURT

                                                      MIDDLE DISTRICT OF LOUISIANA


BMTP, LLC                                                                            CIVIL ACTION


VERSUS                                                                               18-352-SDD-RLB

RBH, INC., CMH HOMES, INC.,
CMH MANUFACTURING, INC.,
CMH SERVICES, INC., AND
NTA, INC.

                                                                            RULING

             This matter is before the Court on the Motion to Dismiss for Lack of Personal

Jurisdiction, or in the Alternative, Motion to Transfer Venue1 by Defendant, RBH, Inc.

(“RBH” or “Defendant”). Plaintiff, BMTP, LLC (“Plaintiff”) has filed an Opposition2 to this

motion, to which Defendant filed a Reply.3 For the following reasons, the Court finds that

Defendant’s motion should be granted in the alternative, and the Court will transfer this

matter to the Northern District of Alabama.

I.           BACKGROUND

             Plaintiff filed this class action Petition in state court, and this matter was removed

by Defendants to federal court pursuant to the Class Action Fairness Act (“CAFA”).4

Plaintiff alleges that CMH Homes, CMH Manufacturing, and CMH Services were

organized under the laws of the State of Tennessee and doing business in Louisiana as



                                                                         
1
  Rec. Doc. No. 26.
2
  Rec. Doc. No. 41.
3
  Rec. Doc. No. 47.
4
  Rec. Doc. No. 1. CAFA, 28 U.S.C. § 1332(d). 
    49968 
                                                                                             Page 1 of 13 
                                                                                                          
              
                 Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 2 of 13



members of the single business enterprise “The Clayton Home Building Group.”5 In April

2016, the Clayton Home Building Group acquired River Birch Homes, Inc. (“RBH”),

Defendant-Movant, and the Defendants allegedly began to promote their business

enterprise to Plaintiff and issued a formal press released.6

             In September 2016, Plaintiff purchased twenty new RBH manufactured homes,

and they were delivered to Plaintiff’s park in Louisiana.7 After a piece of sliding fell off

one of the homes, allegedly revealing hidden defects, Plaintiff investigated the homes

and discovered numerous hidden defects common to all the homes.8 Plaintiff filed this

action on behalf of itself and as a representative of a putative class of purchasers and

owners of RBH homes, alleging the homes were defective due to inadequate design,

materials, systems and manufacturing techniques.9

             RBH moves to dismiss for lack of personal jurisdiction on the grounds that it is an

Alabama corporation with its principal place of business in Hamilton, Alabama;10 all of its

assets have been purchased by Southern Energy Homes, Inc. (“Southern Energy”);11

and, as of the date of the August 2016 purchase of the homes at issue herein, RBH no

longer owned, operated, or controlled the plant which manufactured the homes.12

Further, RBH President Delmo Payne submitted a sworn Declaration wherein he states

that RBH never possessed, manufactured, marketed, or placed into commerce the homes



                                                                         
5
  Rec. Doc. No. 1-1, ¶¶ 1, 6.
6
  Id. at ¶ 5.
7
  Id. at ¶ 7.
8
  Id. at ¶¶ 9-10.
9
  Id. at ¶ 11.
10
   Rec. Doc. No. 26-1,¶ 2.
11
   Id. at ¶ 3.
12
   Id. at ¶¶ 5-6.  
    49968 
                                                                                     Page 2 of 13 
                                                                                                  
              
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 3 of 13



purchased by Plaintiff.13 RBH has no ownership interest in Southern Energy or the CMH

Defendants.14 Additionally, RBH does not operate any manufactured home plants in

Louisiana, has no operations of any kind in Louisiana, has no employees or offices in

Louisiana, and does not own, lease, rent or control any property in Louisiana.15 Finally,

RBH does not maintain any back accounts in Louisiana and has no authorized agent for

service of process in Louisiana.16

          Alternatively, RBH moves to transfer this case to the Northern District of Alabama,

arguing that potential witnesses include former RBH employees and former and current

Southern Energy employees who worked at the plant during the relevant time period.

Plaintiff opposes RBH’s motion, arguing that: it has set forth a prima facie case of

personal jurisdiction over RBH by this Court, jurisdictional discovery should be allowed,

and RBH has not carried its burden of demonstrating that transfer is warranted in this

case.

II.       LAW AND ANALYSIS

          Also currently pending before the Court in this matter is a Motion to Dismiss for

Lack of Personal Jurisdiction by the CMH Defendants,17 a Motion to Dismiss for Lack of

Personal Jurisdiction by NTA, Inc.,18 a Motion for Leave to File First Amended Class

Action Complaint, and a Motion for Leave to File Second Amended Class Action

Complaint by Plaintiff.19 In its Opposition to Plaintiff’s Motion for Leave to File First


                                                                      
13
   Id. at ¶¶ 10-12.
14
   Id. at ¶ 13.
15
   Id. at ¶¶ 14-16.
16
   Id. at ¶¶ 17-18.
17
   Rec. Doc. No. 2.
18
   Rec. Doc. No. 18.
19
   Rec. Doc. Nos. 42 & 63. 
 49968 
                                                                                  Page 3 of 13 
                                                                                               
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 4 of 13



Amended Class Action Complaint, RBH argues that the Court should decide whether to

transfer this case before the many procedural and jurisdictional issues that have been

raised in the other pending motions.20 Plaintiff takes issue with RBH’s reliance on the

Supreme Court’s decision in Sinochem Int'l Co., Ltd., v. Malay. Int'l Shipping Corp.,

wherein the Court held that courts could resolve a forum non conveniens issue before

determining jurisdiction.21 Plaintiff argues that “[n]one of the cases cited by defendant are

authority in the Fifth Circuit and the Supreme Court case cited, Sinochem … did not speak

to the issue of transfer to avoid personal jurisdiction challenges.”22 However, the Fifth

Circuit has weighed in on this issue and has interpreted Sincochem in the manner argued

by RBH.

          In Sangha v. Navig8 ShipManagement Private Limited,23 the Fifth Circuit stated:

          [T]he Supreme Court has consistently held that “there is no mandatory
          ‘sequencing of jurisdictional issues.’” Sinochem Int'l Co. v. Malay. Int'l
          Shipping, 549 U.S. 422, 431, 127 S.Ct. 1184, 167 L.Ed.2d 15 (2007)
          (quoting Ruhrgas, 526 U.S. at 584, 119 S.Ct. 1563). Indeed, a federal court
          has considerable leeway “to choose among threshold grounds for denying
          audience to a case on the merits.” Id. (quoting Ruhrgas, 526 U.S. at 585,
          119 S.Ct. 1563). The Supreme Court has expressly approved of addressing
          personal jurisdiction before subject-matter jurisdiction, see Ruhrgas, 526
          U.S. at 584–85, 119 S.Ct. 1563, and of addressing forum non conveniens
          before other jurisdictional issues, see Sinochem, 549 U.S. at 429, 127 S.Ct.
          1184.24

          In Wellogix v. SAP America, Inc.,25 the plaintiff argued that subject matter

jurisdiction had to be determined before considering a forum non conveniens argument.26


                                                                      
20
   Rec. Doc. No. 49 at 1-2.
21
   549 U.S. 422, 425, 127 S.Ct. 1184, 1188, 167 L.Ed.2d 15 (2007).
22
   Rec. Doc. No. 41 at 7.
23
   882 F.3d 96 (5th Cir. 2018).
24
   Id. at 100.
25
   648 Fed. Appx. 398 (5th Cir. 2016).
26
   Id. at 400. 
 49968 
                                                                                  Page 4 of 13 
                                                                                               
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 5 of 13



Citing Sinochem, the Fifth Circuit stated that the plaintiff “ignores the Supreme Court's

decision that a federal court may dismiss a case on the ground of forum non conveniens

without first resolving a threshold issue of jurisdiction.27 The court continued:

          Sinochem forecloses Wellogix's argument, as the Supreme Court explicitly
          held that “a court need not resolve whether it has authority to adjudicate the
          cause (subject-matter jurisdiction) or personal jurisdiction over the
          defendant if it determines that, in any event, a foreign tribunal is plainly the
          more suitable arbiter of the merits of the case.”28

Accordingly, the Court finds pursuant to Supreme Court and Fifth Circuit authority that it

has discretion to determine whether this matter should be transferred prior to a

consideration of jurisdiction.

          A. Motion To Transfer Venue

          “Section 1404(a) of Title 28 allows the Court in its discretion to transfer venue to

another district or division, ‘[f]or the convenience of parties and witnesses, in the interest

of justice,’ where the action might have been brought.”29                    “‘When the movant

demonstrates that the transferee venue is clearly more convenient’ than the venue

chosen by the plaintiff, ‘it has shown good cause and the district court should grant the

transfer.’”30

          “In determining whether to transfer a case, the court must consider both private

interest factors and public interest factors after first considering whether the judicial district

to which transfer is sought would have been a district in which the claim could have been



                                                                      
27
   Id.
28
   Id. (quoting Sinochem, 549 U.S. at 425, 127 S.Ct. at 1188). 
29
   Norman v. H & E Equipment Services, Inc., 2015 WL 1281989, at *5 (M.D.La. Mar. 20, 2015)(quoting 28
U.S.C. § 1404(a); Hollis v. Fla. State Univ., 259 F.3d 1295, 1300 (11th Cir.2001)).
30
   Coleman v. Trican Well Service, L.P., 2015 WL 865153, at *1 (W.D.Tex. Feb. 27, 2015)(quoting In re
Volkswagen of Am., Inc. (Volkswagen II), 545 F.3d 304, 315 (5th Cir.2008)).
 49968 
                                                                                          Page 5 of 13 
                                                                                                       
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 6 of 13



filed.”31 “These factors are ‘not necessarily exhaustive or exclusive’ and ‘none can be

said to be of dispositive weight.’”32

          The private interest factors that a court must consider are: “(1) the relative ease of

access to sources of proof; (2) the availability of compulsory process to secure the

attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4) all other

practical problems that make trial of a case easy, expeditious and inexpensive.”33 The

public factors to be considered are: “(1) the administrative difficulties flowing from court

congestion; (2) the local interest in having localized interests decided at home; (3) the

familiarity of the forum with the law that will govern the case; and (4) the avoidance of

unnecessary problems of conflict of laws [or in] the application of foreign law.”34 “The

Fifth Circuit has explained that a plaintiff's choice of venue is not determinative in the

analysis, but the plaintiff's choice of venue should be respected if the transferee venue is

not clearly more convenient.”35

          B. Arguments of Parties

          Plaintiff argues that that the private and public interest factors weigh against

transfer. Plaintiff first addressed the private interest factors. As to the relative ease of

access to sources of proof, Plaintiff acknowledges that the manufacturing plant is in

Hackleburg, Alabama, but notes that the physical damages, defects, and resulting


                                                                      
31
     Saurage v. Rave Reviews Cinemas, LLC, 2008 WL 205342, at *2 (M.D.La. Jan. 23, 2008)(citing In re
Volkswagen AG, 371 F.3d 201, 203 (5th Cir.2004)).
 32
     Vivint Louisiana, LLC v. City of Shreveport, 2015 WL 1456216, at *3 (M.D.La. Mar. 23, 2015)(quoting In
re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir.2008)(citing Action Indus., Inc., v. U.S. Fid. & Guar.
Corp., 358 F.3d 337, 340 (5th Cir.2004)).
33
    In re Volkswagen of Am., Inc., 545 F.3d at 315.
34
    Id.
35
    CSFB 1998–C2 TX Facilities, LLC v. Rector, 2015 WL 1003045, at *6 (Mar. 5, 2015)(citing Volkswagen
II, 545 F.3d at 314–15 (5th Cir.2008)(en banc)).
 49968 
                                                                                                Page 6 of 13 
                                                                                                             
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 7 of 13



damages to Plaintiff are in Walker, Louisiana. Plaintiff admits that other homes within the

putative class are located all over the southeast United States. Plaintiff claims that

documents relevant to design, construction, manufacturing, inspection, and the

certification process are just as available in Louisiana as they are in Alabama through

discovery. Plaintiff contends this factor weighs against transfer or is neutral. Plaintiff

contends the compulsory process factor weighs against transfer because Plaintiff’s

witnesses are subject to the compulsory process in the Middle District of Louisiana, not

the Northern District of Alabama, and RBH’s witnesses are subject to its control,

compulsory process or not. The cost for witnesses is neutral as the travel from Louisiana

to Alabama would be the same in either direction. As to the practical problems that make

trial easy, expeditious and inexpensive, Plaintiff focused its argument on disagreeing with

RBH’s contention that transfer of this case would obviate the need to decide the

jurisdictional questions facing the Court and would, thus, favor judicial economy.

          Considering the public interest factors, Plaintiff maintains that “[t]he critical issue is

not congestion, but time to trial.”36 RBH asserted that, in 2017, civil actions in the Middle

District of Louisiana took an average of 36 months from filing to trial while civil actions in

the Northern District of Alabama took an average of 33.5 months.                   Accepting this

statistical assertion as true, Plaintiff maintains that a 2.5 month difference is insignificant.

Additionally, Plaintiff cites the district court for the Eastern District of Louisiana in

Broussard v. First Tower Loan, LLC, wherein it stated that “this factor is not entitled to

much weight because it is the most speculative, and this factor alone should not outweigh



                                                                      
36
     Rec. Doc. No. 41 at 7.
 49968 
                                                                                        Page 7 of 13 
                                                                                                     
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 8 of 13



other factors.”37 Thus, Plaintiff contends this factor is neutral. As to having localized

interests decided at home, Plaintiff argues that these homes were heavily marketed and

sold in Louisiana, and the damages have been felt by Louisiana residents; thus, this factor

weighs against transfer.                             Finally, as RBH concedes, Louisiana choice of law rules will

govern this matter regardless of where it is tried; thus, Plaintiff contends the familiarity of

the forum with the law that will govern the case and the avoidance of conflict of laws

problems weigh against transferring this case from the Middle District of Louisiana.

          RBH notes that Plaintiff does not dispute that venue is proper, and personal

jurisdiction over RBH is found, in the Northern District of Alabama. Further, RBH argues

that a plaintiff’s choice of forum is entitled to minimal deference when, as here, the plaintiff

seeks to represent a nationwide class.                                   RBH maintains that, in light of the class

allegations, the private interest factors clearly weigh in favor of transfer. First, the former

employees of RBH and former and current employees of Southern Energy are located in

the Northern District of Alabama.38 RBH contends these non-party witnesses are not

under the control of a party and are outside the territorial powers of this Court.

          Further, Plaintiff’s claims focus on the alleged improper manufacture of homes

which occurred at a plant located in Hackleburg, Alabama. Thus, RBH contends the

majority of relevant party witnesses and documents will be located in Alabama. No

alleged wrongful conduct occurred in the Middle District of Louisiana. Putative class

members that purchased homes from the Defendants would be located all over the

country; thus, the convenience of Plaintiff’s witnesses to the forum does not equate to


                                                                      
37
   135 F.Supp.3d 540, 548 (E.D. La. 2015)(citations omitted). 
38
   Rec. Doc. No. 26-1, ¶19.
 49968 
                                                                                                        Page 8 of 13 
                                                                                                                     
           
             Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 9 of 13



convenience for all putative class members. As set forth above, RBH maintains that

transfer would obviate the need for this Court to determine several pending motions and

would avoid a waste of judicial resources.

         RBH argues that the public interest factors also weigh in favor of transfer. RBH

contends the Northern District of Alabama has the greatest interest in having this case

decided in that district because the plant is located within that district. RBH acknowledges

that each putative class member may have an interest in where this case is tried;

however, it notes that all of the allegedly defective homes were manufactured in Alabama,

which weighs in favor of transfer. Further, RBH notes that Plaintiff does not dispute that

the Northern District of Alabama is a less congested court than the Middle District of

Louisiana, and the time to trial is shorter.   Finally, with respect to the law of the forum

and potential conflict of law issues, RBH counters Plaintiff’s argument that Louisiana law

will unquestionably apply. Rather, RBH contends that, because Plaintiff purports to

represent a nationwide class alleging state law warranty claims, the laws of all states

wherein homes were sold and/or located could be applicable to this action. Thus, RBH

contends neither the Middle District of Louisiana nor the Northern District of Alabama is

better or worse equipped to handle this issue.

         C. Analysis

              1. Suit Could Have Been Filed in Northern District of Alabama

         Pursuant to the Section 1404(a) framework, the Court must first determine whether

this lawsuit could have been brought in the Northern District of Alabama. Thus, the

general venue statute, 28 U.S.C. § 1391, applies, which establishes venue in: (1) a

judicial district in which any defendant resides, if all defendants are residents of the State
49968 
                                                                                  Page 9 of 13 
                                                                                               
          
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 10 of 13



in which the district is located; (2) a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred ...; or (3) if there is no district in which an

action may otherwise be brought as provided in this section, any judicial district in which

any defendant is subject to the court's personal jurisdiction with respect to such action.39

Plaintiff does not appear to dispute that this suit could have been filed in the Northern

District of Alabama; thus, the Court finds that this action could have been brought in the

Northern District of Alabama where venue would be proper.

                 2. Plaintiff’s Choice of Forum

          Generally, a plaintiff’s choice of forum is given great weight.40 However, plaintiff's

choice of forum, while a factor to be considered, is neither conclusive nor determinative.41

The district court for the Western District of Louisiana recognized that, “[w]here there are

potentially hundreds, if not thousands, of plaintiffs from many different states, deference

to the plaintiffs' chosen forum is considerably weakened.”42 Plaintiff has acknowledged

that putative class members may be found all over the southeast United States.

Accordingly, Plaintiff’s choice of forum is afforded little weight in this analysis.

                 3. Private and Public Interest Factors

          After consideration of the facts in the record and the applicable law, the Court finds

that transfer of this case to the Northern District of Alabama furthers the convenience of

the parties and is in the interests of justice. The facts of this case demonstrate that all of

RBH’s witnesses are located in the state of Alabama. All witnesses to the design,

                                                                      
39
   28 U.S.C. § 1391(b)(West 2015).
40
   Time, Inc. v. Manning, 366 F.2d 690, 698 (5th Cir. 1966).
41
   In re Horseshoe Entertainment, 337 F.3d 429, 434 (5th Cir. 2003).
42
    Broussard v. Family Dollar Store, No. Civ. A 05-0892, 2006 WL 250484 at * 2 (W.D. La. Feb. 1.
2006)(citing Koster v. Lumberman Mutual Casualty, 330 U.S. 518, 524, 67 S.Ct. 828, 91 L.Ed. 1067 (1947)). 
 49968 
                                                                                           Page 10 of 13 
                                                                                                         
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 11 of 13



construction, and manufacture of the allegedly defective homes are located in Alabama

as is the plant where all of these homes were constructed and the relating documents

and evidence. While it is clear that harm has been felt in Louisiana as a result of

Defendants’ alleged conduct, all conduct of which Plaintiff complains occurred in the

Northern District of Alabama. Moreover, if certified as class, harm could potentially be

found in numerous states, including Alabama. The convenience of Plaintiff’s witnesses

to the Northern District of Alabama is simply not sufficiently significant to weigh against

transfer when compared to the witnesses, documents, and evidence located in Alabama

and the fact that potential witnesses could be found all over the country. The Court also

finds that practical problems associated with trial weigh in favor of transfer as some

pending motions would be moot upon transfer. Plaintiff’s recent attempt to add Southern

Energy as a defendant only provides additional support for transfer as this entity is located

within the Northern District of Alabama, and Southern Energy now owns the

manufactured home plant at issue herein.43

          Turning to the public interest factors, the Court likewise finds that these factors

warrant transfer.                    Plaintiff dismisses the issue of docket congestion as speculative;

however, the administrative difficulties flowing from docket congestion in the Middle

District based on recent events have significantly impacted this District.44 Considering

                                                                      
43
   See Motion for Leave to File First Amended Class Action Complaint. Rec. Doc. No. 42; Rec. Doc. No.
42-1 at 2.
44
   In November 2017, the Middle District suffered the loss of Senior District Judge James Brady, who carried
active civil and criminal dockets at the time of his death. Recent statistics revealed that the Middle District
of Louisiana is the fourth busiest district in the country despite having only three active district judges, two
magistrate judges, and no senior judges. The docket of the Middle District has been further impacted in
the last year by the increase in civil case filings related to a catastrophic flood event in August of 2016. As
a result of these recent events, the three active judges of the Middle District assumed the criminal and civil
dockets of the late Honorable James Brady and contemporaneously gained an increase of approximately
900 flood related civil filings.
 49968 
                                                                                                 Page 11 of 13 
                                                                                                               
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 12 of 13



this Court’s heavily congested docket coupled with the fact that no operative facts relating

to Defendants’ alleged conduct occurred in this district, the Court finds that this factor

weighs heavily in favor of transfer.

          The Court also finds that the Northern District of Alabama has a significant interest

in deciding this case. First, the allegedly defective homes were designed, constructed,

and manufactured at a plant located within this district. Given that putative class members

may also be in Alabama, the Northern District of Alabama may have the most significant

interest in deciding this case as its decision may affect both Alabama defendants and

plaintiffs. If this case is certified as a class, considering the potential residences of the

putative class members, the Middle District of Louisiana may ultimately have considerably

less localized interests in deciding this case. The Court finds this factor weighs in favor

of transfer.

          Finally, considering that Plaintiff purports to represent a nationwide class, the Court

agrees with RBH that the significance of factors addressing laws that will govern the case

and issues with conflict of laws is undeterminable at this stage. The Court finds these

factors are neutral.

          In The Laitram Corporation v. Hewlett-Packard Company, the district court for the

Eastern District of Louisiana noted that “[a] fundamental principle guiding the Court's

analysis is that litigation should proceed in that place where the case finds its center of

gravity.”45 Considering that Plaintiff purports to represent a nationwide class, and it is

undisputed that all alleged conduct relating to the defective design and construction of



                                                                      
45
     120 F.Supp.2d 607, 609 (E.D. La. 2000)(internal quotation marks and citations omitted).
 49968 
                                                                                               Page 12 of 13 
                                                                                                             
           
              Case 2:19-cv-00177-JHE Document 69 Filed 01/31/19 Page 13 of 13



the manufactured homes at issue occurred in the Northern District of Alabama, the Court

finds that the Northern District of Alabama is the “center of gravity” for the acts giving rise

to this lawsuit.                   Accordingly, the Court finds that RBH has carried its burden of

demonstrating that the Northern District of Alabama is clearly a more convenient and

proper forum for this case.

III.      CONCLUSION

          For the reasons set forth above, the alternative request for relief in RBH’s Motion

to Dismiss for Lack of Personal Jurisdiction, or in the Alternative, Motion to Transfer

Venue46 is GRANTED, and this case shall be TRANSFERRED to the United States

District Court for the Northern District of Alabama.

          IT IS SO ORDERED.

          Signed in Baton Rouge, Louisiana, on January 30, 2019.


           

                                                                            S
                                                                         CHIEF JUDGE SHELLY D. DICK
                                                                         UNITED STATES DISTRICT COURT
                                                                         MIDDLE DISTRICT OF LOUISIANA




                                                                      
46
     Rec.Doc. No. 26.
 49968 
                                                                                                        Page 13 of 13 
                                                                                                                      
           
